                                                                                  Case 14-15475
                                                                     B23 (Official Form 23) (12/10)
                                                                                                            Doc 14           Filed 06/17/14 Entered 06/17/14 14:45:17            Desc Main
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                                                                                                                             United States Bankruptcy Court
                                                                                                                               Northern District of Illinois

                                                                     IN RE:                                                                                       Case No. 14-15475
                                                                     Podgorski, Matthew P                                                                         Chapter 7
                                                                                                                    Debtor(s)

                                                                                  DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                                                                                          COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT
                                                                     Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file this
                                                                     certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of the
                                                                     following statements and file by the deadline stated below:

                                                                      I, Matthew P Podgorski             (Printed Name of Debtor)
                                                                                                                                                       the debtor in the above-styled case, hereby certify

                                                                     that on          June 17, 2014           (Date), I completed an instructional course in personal financial management provided by

                                                                     001 Debtoredu LLC                                                             an approved personal financial management provider.
                                                                                                      (Name of Provider)


                                                                     Certificate No. (if any): 14912-ILN-DE-023635147
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                                                                         I,                                                                            the debtor in the above-styled case, hereby certify
                                                                                                          (Printed Name of Debtor)

                                                                     that no personal financial management course is required because of [Check the appropriate box.]:

                                                                               Incapacity or disability, as defined in 11 U.S.C. § 109(h);

                                                                               Active military duty in a military combat zone; or

                                                                               Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that the
                                                                               approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
                                                                               be required to complete such courses.



                                                                     Signature of Debtor: /s/ Matthew P Podgorski
                                                                     Date:          June 17, 2014



                                                                     Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R. Bankr.
                                                                     P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling provider and
                                                                     do NOT include with the petition when filing your case.

                                                                     Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under § 341 of the
                                                                     Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as required by the plan
                                                                     or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P. 1007(c).)
